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                                                        U.S. Bankruptcy Court
                                                     Eastern District of North Carolina
      In re:
                                                                      Bankruptcy Case No. 19−01659−5−SWH
      TERESA D HINES
                                                          Debtor
                                                                      Adversary Proceeding No. 19−00110−5−SWH
      TERESA D HINES
                                                          Plaintiff
      v.
      SOUTHERN LOANS
                                                          Defendant



                                                  SUMMONS IN AN ADVERSARY PROCEEDING


      YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this summons with the clerk
      of the bankruptcy court within 30 days after the date of issuance of this summons, except that the United States and its offices and
      agencies shall file a motion or answer to the complaint within 35 days of issuance.
      Address of Clerk:
           CLERK, U.S. BANKRUPTCY COURT
           EASTERN DISTRICT OF NORTH CAROLINA
           300 FAYETTEVILLE STREET, PO BOX 791
           RALEIGH, NC 27602
      At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


      Name and Address of Plaintiff's Attorney:
          CHRISTOPHER T. VONDERAU
           4022 SHIPYARD BLVD.
           WILMINGTON, NC 28403
      If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

      IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
      JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
      DEMANDED IN THE COMPLAINT.




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           Date Issued: July 10, 2019



                                                                       Stephanie J. Butler, Clerk Of Court




           CSD 3007
